         Case 2:02-cr-00063-MJP          Document 217        Filed 01/31/06      Page 1 of 3




01

02

03

04

05

06                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
07                                    AT SEATTLE

08 UNITED STATES OF AMERICA,              )           CASE NO. CR02-063-MJP
                                          )
09         Plaintiff,                     )
                                          )
10         v.                             )           SUMMARY REPORT OF U.S.
                                          )           MAGISTRATE JUDGE AS TO
11   DAVID JOHN JAMES,                    )           ALLEGED VIOLATIONS
                                          )           OF SUPERVISED RELEASE
12         Defendant.                     )
     ____________________________________ )
13

14         An initial hearing on supervised release revocation in this case was scheduled before me

15 on January 31, 2006. The United States was represented by AUSA Tate London and the

16 defendant by Timothy S. McGarry. The proceedings were digitally recorded.

17         Defendant had been sentenced on or about July 19, 2002 by the Honorable Marsha J.

18 Pechman on a charge of Distribution of a Controlled Substance and sentenced to 30 Months

19 Custody, 3 years Supervised Release.

20         The conditions of supervised release included requirements that defendant comply with all

21 local, state, and federal laws and with the standard conditions of supervision. Other special

22 conditions included no firearms, narcotic addiction or drug dependency treatment and testing,

     SUMMARY REPORT OF U.S. MAGISTRATE JUDGE
     AS TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE
     PAGE -1
          Case 2:02-cr-00063-MJP           Document 217        Filed 01/31/06      Page 2 of 3




01 mandatory drug testing, refrain from alcohol and other intoxicants, submit to search, and provide

02 financial information. (Dkt. 126)

03          On June 2, 2004, defendant’s probation officer reported that the defendant had tested

04 positive for cocaine. He was reprimanded, placed in a structured testing program, referred for

05 assessment and intensive outpatient treatment, and placed in a community based residential

06 program (Dkt. 186). No further action was taken.

07          On March 11, 2005, the defendant admitted to violating the terms of supervised release

08 by using cocaine, failing to submit monthly reports, failing to report for drug testing, and failing

09 to report to the probation office as directed. (Dkt. 201). A sentence of five months in custody was

10 imposed. (Dkt. 203).

11          In an application dated October 25, 2005, U.S. Probation Officer Steven R. Gregoryk

12 reported that defendant had violated the terms of supervised release as follows:

13          1.      Using cocaine on or before October 5, 2005 and October 7, 2005 in violation of

14 standard condition no. 7.

15          2.      Failing to report to the probation officer on October 19, 2005 and October 21,

16 2004 in violation of standard condition no. 2.

17          Defendant was advised in full as to those charges and as to his constitutional rights.

18          Defendant admitted each of the alleged violations and waived any evidentiary hearing as

19 to whether they occurred.

20          I therefore recommend the Court find defendant violated his supervised release as alleged

21 and that the Court conduct a hearing limited to the issue of disposition. The next hearing will be

22 set before Judge Pechman.

     SUMMARY REPORT OF U.S. MAGISTRATE JUDGE
     AS TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE
     PAGE -2
         Case 2:02-cr-00063-MJP        Document 217        Filed 01/31/06     Page 3 of 3




01        Pending a final determination by the Court, defendant has been detained.

02        DATED this 31st day of January , 2006.



                                               A
03

04                                             Mary Alice Theiler
                                               United States Magistrate Judge
05

06

07

08 cc:    District Judge:               Honorable Marsha J. Pechman
          AUSA:                         Tate London
09        Defendant’s attorney:         Timothy S. McGarry
          Probation officer:            Steven R. Gregoryk
10

11

12

13

14

15

16

17

18

19

20

21

22

     SUMMARY REPORT OF U.S. MAGISTRATE JUDGE
     AS TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE
     PAGE -3
